 Case 1:18-cr-00457-AJT Document 394 Filed 08/20/21 Page 1 of 3 PageID# 5584




                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA,                    :
                                             :
v.                                           :       Criminal Case No. 1:18-CR-457 (AJT)
                                             :
BIJAN RAFIEKIAN, et al.                      :


   DEFENDANT BIJAN RAFIEKIAN’S MOTION TO COMPEL DISCLOSURE OF
 CLASSIFIED MATERIAL AND EX PARTE STATEMENT AND FOR AN EXTENSION
  OF TIME TO FILE REPLY IN SUPPORT OF RAFIEKIAN’S MOTION FOR A NEW
                                TRIAL

       Defendant Bijan Rafiekian, through counsel, respectfully requests that the Court order the

government to disclose the classified information for which DX66 is a purported substitute, as

well as the government’s ex parte statement in support of its Opposition to Defendant’s Renewed

Motion for a New Trial. Mr. Rafiekian also requests a thirty (30) day extension to file his reply

in support of his Renewed Motion for New Trial. The grounds for this motion are set forth in the

accompanying memorandum of law.

Dated: August 20, 2021                               Respectfully submitted,

                                                     /s/
                                                     Mark J. MacDougall (Pro Hac Vice)
                                                     Stacey H. Mitchell (Pro Hac Vice)
                                                     James E. Tysse (VA Bar #73490)
                                                     Adam A. Bereston (Pro Hac Vice)
                                                     Samantha J. Block (Pro Hac Vice)
                                                     Madeline Bardi (Pro Hac Vice)
                                                     Counsel for Bijan Rafiekian
                                                     Akin Gump Strauss Hauer & Feld LLP
                                                     2001 K Street NW
                                                     Washington, DC 20006
                                                     Telephone: (202) 887-4000
                                                     Fax: (202) 887-4288
                                                     E-mail: mmacdougall@akingump.com
                                                              shmitchell@akingump.com



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Case 1:18-cr-00457-AJT Document 394 Filed 08/20/21 Page 2 of 3 PageID# 5585




                                         /s/
                                         Robert P. Trout (VA Bar # 13642)
                                         Counsel for Bijan Rafiekian
                                         Schertler Onorato Mead & Sears
                                         901 New York Avenue, N.W.
                                         Suite 500 West
                                         Washington, DC 20001
                                         Telephone: (202) 628-4199
                                         Fax: (202) 628-4177
                                         E-mail: rtrout@schertlerlaw.com




                                     2
 Case 1:18-cr-00457-AJT Document 394 Filed 08/20/21 Page 3 of 3 PageID# 5586




                                CERTIFICATE OF SERVICE

       I hereby certify that, on the 20th day of August 2021, true and genuine copies of

Defendant Bijan Rafiekian’s Motion to Compel Disclosure of Classified Material and Ex Parte

Statement and for an Extension of Time to File Reply in Support of Rafiekian’s Renewed Motion

for a New Trial was sent via electronic mail by the Court’s CM/ECF system to the following:

       James P. Gillis
       John T. Gibbs
       Evan N. Turgeon
       Aidan T. Grano-Mickelsen
       U.S. Attorney’s Office (Alexandria-VA)
       2100 Jamieson Avenue
       Alexandria, VA 22314
       Telephone: (703) 299-3700
       Email: james.p.gillis@usdoj.gov
               john.gibbs@usdoj.gov
               evan.turgeon@usdoj.gov
               agrano@usa.doj.gov




                                                            /s/
                                                            James E. Tysse (VA Bar #73490)




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